            Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 1 of 19




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                          )
                                                  )
                v.                                )
                                                  )           No. 1:21-cr-41-JL
Ian Freeman (formerly Ian Bernard)                )
             and                                  )
Aria DiMezzo (formerly James Baker)               )
                                                  )




                                SUPERSEDING INDICTMENT

The Grand Jury charges:

                                            Background

At all times material to this Superseding Indictment:

       1.       From at least on or about 2016 to on or about March 15, 2021, defendants IAN

FREEMAN, ARIA DIMEZZO, and others operated a business that enabled customers to

exchange fiat currency for virtual currency, charging a fee for their service. In total, between

approximately May 25, 2016, and March 15, 2021, the defendants exchanged more than

$10,000,000 in United States currency for virtual currency on behalf of customers throughout the

United States, including in the District of New Hampshire.

       2.       The defendants IAN FREEMAN and ARIA DIMEZZO and others operated their

unlawful virtual currency exchange business through two primary means. First, they advertised

virtual currency for sale online through websites including LocalBitcoins.com. Second, they

operated virtual currency automated teller machines, or kiosks, located in the District of New

Hampshire.


                                                 1
            Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 2 of 19




       3.       At all times relevant to this Superseding Indictment, the defendants knowingly

operated the virtual currency exchange business in violation of federal anti-money laundering

laws and regulations, including those requiring money services businesses to meet registration

and reporting requirements set forth in Title 18, United States Code, Section 1960, and in

regulations promulgated by the United States Department of the Treasury.

       4.       In furtherance of the unlawful scheme, the defendants IAN FREEMAN, ARIA

DIMEZZO, and others opened bank accounts at United States financial institutions, including in

branches located in the District of New Hampshire, either as personal accounts, or in the names

of purported religious entities, including, but not limited to: the Shire Free Church, the Crypto

Church of NH, the Church of the Invisible Hand, and the Reformed Satanic Church. The

defendants and others engaged in substantial efforts to evade detection of their unlawful virtual

currency exchange scheme by: (1) avoiding answering questions from financial institutions about

the nature of the businesses holding the accounts and (2) deceiving the financial institutions

about the nature of their unlawful virtual currency exchange business through falsely claiming

that the accounts were held by religious organizations that received charitable contributions.

       5.       The defendants IAN FREEMAN, ARIA DIMEZZO, and others knowingly and

falsely represented to these financial institutions that the accounts were used to receive church

donations and conduct church outreach when, in truth and in fact, the accounts were opened to

function, and did in fact function, as operating accounts for their unlawful virtual currency

exchange business.

       6.       In furtherance of their unlawful scheme, the defendants IAN FREEMAN, ARIA

DIMEZZO, and others knowingly instructed virtual currency customers to lie to financial

institutions about the virtual currency transactions that customers were executing. Specifically,



                                                 2
              Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 3 of 19




they instructed customers to conceal from the financial institutions the fact that the customers

were purchasing virtual currency, and in certain cases, to state falsely to the financial institutions

that the payments were church donations or were for the purpose of purchasing rare coins.

         7.       As part of the unlawful scheme, the defendant IAN FREEMAN knowingly

processed and profited from numerous virtual currency transactions conducted on behalf of

individuals who were defrauded by illegal scams, most commonly so-called “romance scams.”1

By knowingly permitting defrauded individuals to exchange fiat currency for virtual currency

including Bitcoin, FREEMAN and others facilitated the transfer of illicit proceeds to the

executors of the illegal scams, while generating revenue for the virtual currency exchange

business.

         8.       At all times relevant to this Superseding Indictment, IAN FREEMAN was a

resident of New Hampshire. Since at least 2019, ARIA DIMEZZO was a resident of New

Hampshire.

         9.       At all times relevant to this Superseding Indictment, TD Bank, Bank of America,

Santander Bank, Wells Fargo Bank, JP Morgan Chase Bank, Ally Bank, Axos Bank, Savings

Bank of Walpole, and Citizens Bank, were financial institutions, the deposits of which were then

insured by the Federal Deposit Insurance Corporation.

         10.      At all times relevant to this Superseding Indictment, Service Credit Union, Digital

Federal Credit Union, Members First Credit Union, Agricultural Federal Credit Union, and First

Tech Federal Credit Union, were financial institutions, the deposits of which were then insured

by the National Credit Union Association.


1
  As used in this Superseding Indictment, a “romance scam” is a type of wire fraud and is an illicit means of
obtaining money and property from an unsuspecting individual. It is usually executed by a perpetrator who, through
a series of on-line, email, text, and telephonic communications, deceptively and through false pretenses secures the
confidence and trust of an individual and induces that person to send the perpetrator money and property.

                                                         3
          Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 4 of 19




                                       COUNT ONE
              [Conspiracy to Operate Unlicensed Money Transmitting Business]
                          [18 U.S.C. §§ 371, 1960(a) and (b)(1)(B)]

       11.       The allegations of paragraphs 1 through 10 of this Superseding Indictment are

realleged and incorporated as if set forth in full herein.

       12.       From at least in and around January 2016, to on or about March 15, 2021, in the

District of New Hampshire and elsewhere, the defendants IAN FREEMAN, ARIA DIMEZZO

and others known and unknown, did unlawfully, willfully and knowingly combine, conspire,

confederate and agree with each other to operate an unlicensed money transmitting business, in

violation of Title 18, United States Code, Section 1960.

       13.       It was a part and object of the conspiracy that the defendants IAN FREEMAN,

ARIA DIMEZZO, and others known and unknown, knowingly conducted, controlled, managed,

supervised, directed, and owned an unlicensed money transmitting business affecting interstate

and foreign commerce, namely a virtual currency exchange business, that involved the

transportation or transmission of funds which failed to comply with the money transmitting

business registration requirements set forth in Title 31, United States Code, Section 5330, and

the regulations prescribed thereunder.

                                               Overt Acts

       14.       In furtherance of the conspiracy and to affect the illegal object thereof, at least

one of the following overt acts, among others, was committed in the District of New Hampshire

and elsewhere:

                 a.     Between in or around May 2016 and on or about March 15, 2021, from the

       District of New Hampshire, the defendants IAN FREEMAN and ARIA DIMEZZO


                                                    4
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 5 of 19




       opened and operated accounts at financial institutions as personal accounts with the

       purpose to use them to sell virtual currency.

                 b.     Between in or around May 2016 and on or about March 15, 2021, from the

       District of New Hampshire, the defendants IAN FREEMAN and ARIA DIMEZZO

       opened and operated accounts at financial institutions, in the names of religious

       organizations with the purpose to use them to sell virtual currency.

                 c.     Between in or around May 2016 and on or about March 15, 2021, from the

       District of New Hampshire, the defendant IAN FREEMAN paid others to open bank

       accounts in their names or in the names of purported religious organizations with the

       purpose to allow IAN FREEMAN to use the accounts to sell virtual currency.

                 d.     Between in or around May 2016 and on or about March 15, 2021, from the

       District of New Hampshire, the defendants IAN FREEMAN and ARIA DIMEZZO met

       customers on Localbitcoins.com and sold them Bitcoin in exchange for fiat currency.

                 e.     Between in or around May 2016 and on or about March 15, 2021, in the

       District of New Hampshire, the defendant IAN FREEMAN operated virtual currency

       kiosks.

                 f.     Between in or around May 2016 and on or about March 15, 2021, the

       defendants IAN FREEMAN, ARIA DIMEZZO, and others instructed virtual currency

       customers to falsely describe deposits into their accounts as “church donations” to avoid

       detection of their scheme by financial institutions.

       15.       All in violation of Title 18, United States Code, Sections 371, 1960(a), and

1960(b)(1)(B).




                                                  5
           Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 6 of 19




                                         COUNT TWO
                     [Operation of Unlicensed Money Transmitting Business]
                          [18 U.S.C. §§ 1960(a) and (b)(1)(B) and (C)]

       16.     The allegations of paragraphs 1 through 10 of this Superseding Indictment are

realleged and incorporated as if set forth in full herein.

       17.     Beginning on or about an unknown date, but at least by 2016, and continuing until

at least on or about March 15, 2021, in the District of New Hampshire and elsewhere, the

defendant IAN FREEMAN, knowingly conducted, controlled, managed, supervised, directed,

and owned an unlicensed money transmitting business affecting interstate and foreign commerce,

namely a virtual currency exchange business, that (i) involved the transportation or transmission

of funds which failed to comply with the money transmitting business registration requirements

set forth in Title 31, United States Code, Section 5330, and the regulations prescribed thereunder

and (ii) otherwise involved the transportation and transmission of funds known to IAN

FREEMAN to have been derived from a criminal offense, specifically, wire fraud in violation of

Title 18, United States Code, Section 1343, and intended to be used to promote and support

unlawful activity.

       18.     All in violation of Title 18 United States Code, Sections 1960(a) and (b)(1)(B)

and (C).

                                        COUNT THREE
                     [Operation of Unlicensed Money Transmitting Business]
                               [18 U.S.C. §§ 1960(a) and (b)(1)(B)]

       19.     The allegations of paragraphs 1 through 10 of this Superseding Indictment are

realleged and incorporated as if set forth in full herein.




                                                   6
          Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 7 of 19




       20.     Beginning on or about an unknown date, but at least by September 2019, and

continuing until at least on or about March 15, 2021, in the District of New Hampshire and

elsewhere, the defendant ARIA DIMEZZO, knowingly conducted, controlled, managed,

supervised, directed, and owned an unlicensed money transmitting business affecting interstate

and foreign commerce, namely a virtual currency exchange business, that involved the

transportation or transmission of funds which failed to comply with the money transmitting

business registration requirements set forth in Title 31, United States Code, Section 5330, and

the regulations prescribed thereunder.

       21.     All in violation of Title 18 United States Code, Sections 1960(a) and (b)(1)(B).

                                       COUNT FOUR
                     [Conspiracy to Commit Wire Fraud and Bank Fraud]
                               [18 U.S.C. §§ 1343, 1344, 1349]


       22.     The allegations of paragraphs 1 through 10 of this Superseding Indictment are re-

alleged and incorporated as if set forth in full herein.

       23.     Beginning on or about an unknown date, but at least by 2016, and continuing until

at least on or about March 15, 2021, in the District of New Hampshire and elsewhere, the

defendant IAN FREEMAN and others willfully and knowingly, combined, conspired,

confederated and agreed together and with each other to commit wire fraud and bank fraud in

violation of Title 18, United States Code, Sections 1343 and 1344.

       24.     It was a part and an object of the conspiracy that the defendant IAN FREEMAN

and others known and unknown, willfully, and knowingly, having devised and intending to

devise a scheme and artifice to defraud and for obtaining money and property by means of false

and fraudulent pretenses, representations and promises, would and did transmit and cause to be

transmitted by means of wire, radio, and television communication in interstate and foreign

                                                   7
          Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 8 of 19




commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such

scheme and artifice to defraud, in violation of Title 18, United States Code, Section 1343. IAN

FREEMAN and others made, and caused others to make, material misrepresentations to financial

institutions to deceive those financial institutions into allowing the defendant to open and operate

accounts used to process financial transactions and, in so doing, caused wires to be transmitted to

and from the District of New Hampshire.

       25.     It was a further part and an object of the conspiracy that the defendant IAN

FREEMAN and others willfully and knowingly would and did execute and attempt to execute a

scheme and artifice to obtain moneys, funds, credits, assets, securities, and other property owned

by, and under the custody and control of, financial institutions, including TD Bank, Bank of

America, Santander Bank, Wells Fargo Bank, JP Morgan Chase Bank, Ally Bank, Axos Bank,

Savings Bank of Walpole, Citizens Bank, and other financial institutions, the deposits of which

were then insured by the Federal Deposit Insurance Corporation; and Service Credit Union,

Digital Federal Credit Union, Members First Credit Union, Agricultural Federal Credit Union,

First Tech Federal Credit Union, and other credit unions, the deposits of which were then insured

by the National Credit Union Association, by means of false and fraudulent pretenses,

representations, and promises, in violation of Title 18, United States Code, Section 1344(2). IAN

FREEMAN and others made, and caused others to make, material misrepresentations to federally

insured financial institutions to deceive those financial institutions into allowing IAN

FREEMAN and others to open and operate accounts used to process financial transactions and,

in so doing, obtained and attempted to obtain moneys, funds, and property owned by and under

the custody and control of financial institutions.

       26.     All in violation of Title 18, United States Code, Sections 1343, 1344, and 1349.



                                                     8
          Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 9 of 19




                             COUNTS FIVE THROUGH TWENTY
                                      [Wire Fraud]
                                    [18 U.S.C. § 1343]

       27.     The allegations of paragraphs 1 through 10 of this Superseding Indictment are

realleged and incorporated as if set forth in full herein.

       28.     Beginning on or about an unknown date, but at least by 2016, and continuing until

at least on or about March 15, 2021, in the District of New Hampshire and elsewhere, the

defendants IAN FREEMAN and ARIA DIMEZZO, devised and intended to devise a scheme to

defraud the financial institutions listed below, and to obtain money and property by means of

materially false and fraudulent pretenses, representations and promises. For the purpose of

executing the scheme to defraud, IAN FREEMAN and ARIA DIMEZZO caused to be

transmitted by means of wire communication in interstate commerce, the writings, signals, and

sounds described below:

 COUNT           WIRE COMMUNICATION                 DEFENDANT FINANCIAL             ACCOUNT
                                                                INSTITUTION
 5               1/12/17 Wire Transfer              Ian Freeman Wells Fargo         7792
 6               10/12/17 Email                     Ian Freeman Wells Fargo         3193
 7               1/8/18 Text Communication          Ian Freeman Service Credit      9598
                                                                Union
 8               9/11/2019 Text                     Ian Freeman TD Bank             2980
                 Communication
 9               11/9/18 Email                      Ian Freeman   Service Credit    0019
                                                                  Union
 10              6/13/19 Wire Transfer              Ian Freeman   First Tech        8014
                                                                  Federal Credit
                                                                  Union
 11              1/21/2020 Wire Transfer            Ian Freeman   Service Credit    4962
                                                                  Union
 12              4/2/20 Wire Transfer               Ian Freeman   JP Morgan         9038
                                                                  Chase
 13              4/27/20 Wire Transfer              Ian Freeman   Bank of           9633
                                                                  America




                                                   9
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 10 of 19




 14              12/11/19 Wire Transfer             Ian Freeman      Agricultural       9989
                                                                     Federal Credit
                                                                     Union
 15              11/2/2020 Wire Transfer            Ian Freeman      Santander          2523
 16              11/10/2020 Wire Transfer           Ian Freeman      Santander          9819
 17              3/24/2020 Wire Transfer            Aria DiMezzo     Bank of            6064
                                                                     America
 18              7/1/2020 Wire Transfer             Aria DiMezzo     Citizens Bank      4521
 19              7/16/2020 Wire Transfer            Aria DiMezzo     Wells Fargo        5556
 20              3/2/2021 Wire Transfer             Aria DiMezzo     Savings Bank       8389
                                                                     of Walpole


       29.     All in violation of Title 18 United States Code, Section 1343.


                                 COUNT TWENTY-ONE
                        [Money Laundering – 18 U.S.C. § 1956(a)(3)(B)]

       30.     The allegation of paragraphs 1 through 10 of this Superseding Indictment are

realleged and incorporated as if set forth in full herein.

       31.     On or about August 25, 2020, in the District of New Hampshire and elsewhere,

the defendant IAN FREEMAN, with the intent to conceal and disguise the nature, location,

source, ownership, and control of property believed to be the proceeds of specified unlawful

activity, that is, distribution of controlled substances in violation of Title 21, United States Code,

Section 841(a), knowingly conducted a financial transaction, affecting interstate commerce,

involving property represented by an authorized agent of the United States government to be

proceeds of specified unlawful activity, that is, distribution of controlled substances, namely the

exchange of $19,900 in United States dollars, for approximately 1.54 Bitcoin.

       32.     All in violation of Title 18, United States Code, Section 1956(a)(3)(B).




                                                  10
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 11 of 19




                 COUNTS TWENTY-TWO THROUGH TWENTY-SEVEN
                       [Money Laundering – 18 U.S.C. § 1957]

       33.     The allegations in Paragraphs 1 through 10 of this Superseding Indictment are

realleged and incorporated as if set forth in full herein.

       34.     On or about the following dates, in the District of New Hampshire and elsewhere,

the defendants IAN FREEMAN and ARIA DIMEZZO, knowingly engaged and attempted to

engage in the monetary transactions listed below by or through or to a financial institution,

affecting interstate commerce, in criminally derived property of a value greater than $10,000,

such property having been derived from a specified unlawful activity, that is, bank fraud, in

violation of Title 18, United States Code, Section 1344.

 COUNT DEFENDANT DATE                                  MONETARY TRANSACTION

 22          Ian Freeman       April 29, 2019          Deposit of $44,874 check from TD Bank
                                                       Account ending 2980 into Axos Bank
                                                       Account ending 8079
 23          Ian Freeman       March 3, 2017           Deposit of $24,000 check with memo line
                                                       “church outreach” from Wells Fargo Bank
                                                       Account ending 7792 into Ally Bank
                                                       Account ending 8059.
 24          Ian Freeman       November 10,            Transfer of $141,000 from Santander Bank
                               2020                    Account ending 2523 to Santander Bank
                                                       Account ending 9819.
 25          Aria DiMezzo      July 7, 2020            Transfer of $271,000 from Citizens Bank
                                                       Account ending 4521 to virtual currency
                                                       exchange Paxos
 26          Aria DiMezzo      August 20, 2020         Transfer of $91,000 from Wells Fargo
                                                       Bank Account ending 5556 to virtual
                                                       currency exchange Paxos
 27          Aria DiMezzo      August 14, 2020         Transfer of $50,000 from Wells Fargo
                                                       Bank Account ending 5556 to Wells Fargo
                                                       Bank Account ending 8389


       35.     All in violation of Title 18, United States Code, Section 1957.




                                                  11
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 12 of 19




                               COUNT TWENTY-EIGHT
              [Conspiracy to Commit Money Laundering – 18 U.S.C. § 1956(h)]

       36.     The allegations set forth in Paragraphs 1 through 10 of this Superseding

Indictment are realleged and incorporated as if set forth in full herein.

       37.     From an unknown date but no later than May 25, 2016, and ending on or about

March 15, 2021, in the District of New Hampshire and elsewhere, the defendant IAN

FREEMAN, and others known and unknown, did willfully and knowingly combine, conspire,

confederate and agree together and with each other to knowingly conduct and attempt to conduct

financial transactions affecting interstate commerce, which transactions involved the proceeds of

specified unlawful activity, that is, wire fraud, in violation of Title 18, United States Code,

Section 1343, knowing that the transactions were designed in whole or in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of specified

unlawful activity, and that while conducting and attempting to conduct such financial

transactions, knew that the property involved in the financial transactions represented the

proceeds of some form of unlawful activity, in violation of Title 18, United States Code, Section

1956(a)(1)(B)(i).

       38.     All in violation of Title 18 United States Code, Section 1956(h).

                    COUNTS TWENTY-NINE THROUGH THIRTY-TWO
                     [Attempt to Evade or Defeat Tax – 26 U.S.C. § 7201]

       39.     The allegations alleged in Paragraphs 1 through 10 of this Superseding Indictment

are realleged and incorporated as if set forth in full herein.

       40.     During the calendar years set forth below, the defendant IAN FREEMAN,

received taxable income, upon which there was substantial income tax due and owing to the

United States of America. Knowing the foregoing facts and failing to make an income tax return


                                                  12
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 13 of 19




on or before the dates set forth below, as required by law, to any proper officer of the Internal

Revenue Service, and to pay the income tax to the Internal Revenue Service, IAN FREEMAN,

willfully attempted to evade and defeat income tax due and owing by him to the United States,

for the calendar years set forth below, by, among other affirmative acts: (i) obtaining Employer

Identification Numbers for purported churches; (ii) opening and operating accounts at financial

institutions in the names of those churches; (iii) causing virtual currency customers to deposit

funds into accounts at financial institutions in the names of the purported churches and other

accounts; (iv) directing virtual currency customers to conceal the nature of the funds deposited

into the accounts he controlled; (v) causing third parties to open bank accounts for him to use for

his virtual currency business; and (vi) disabling know your customer features in his virtual

currency kiosks.

 COUNT           CALENDAR YEAR                      DUE DATE OF RETURN
 29              2016                               April 17, 2017
 30              2017                               April 16, 2018
 31              2018                               April 15, 2019
 32              2019                               July 15, 2020


       41.     All in violation of Title 26, United States Code, Section 7201.

                                   COUNT THIRTY-THREE
                            [Continuing Financial Crimes Enterprise]
                                        [18 U.S.C. § 225]

       42.     The allegations set forth in Paragraph 1 through 10 of this Superseding Indictment

are realleged and incorporated as if set forth in full herein.

       43.     From an unknown date but no later than May 25, 2016, and ending on or about

March 15, 2021, in the District of New Hampshire and elsewhere, the defendant IAN

FREEMAN knowingly conducted a continuing financial crimes enterprise, in that he committed

bank fraud through a series of violations of Title 18, United States Code, Section 1344, and wire

                                                  13
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 14 of 19




fraud through a series of violations of Title 18, United States Code, Section 1343, that affected a

financial institution, including, but not limited to, the acts alleged in Counts 5 through 16 of this

Superseding Indictment, which are incorporated by reference, which violations were undertaken

by the defendant in concert with at least three other persons whom the defendant organized,

managed and supervised, and from which continuing series of violations IAN FREEMAN

received over $5,000,000 and more in gross receipts from on or about October 1, 2018, ending

on or about September 30, 2020.

       44.     All in violation of Title 18, United States Code, Section 225.

                                  NOTICE OF FORFEITURE

       Pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 28 U.S.C. 2461(C), and upon conviction of

the offense alleged in Count One of this Superseding Indictment in violation of 18 U.S.C. § 371,

the defendants IAN FREEMAN and ARIA DIMEZZO shall forfeit to the United States of

America any property, real or personal, which constitutes or is derived from proceeds traceable

to said violation(s), including but not limited to: (1) (21-FBI-004556) 6.124429323 BTC, seized

from Ian Freeman; (2) (21-FBI-004557) 315.44728106 DASH, seized from Ian Freeman; (3)

(21-FBI-005179) $14,120.00 U.S. Currency seized from Bitcoin ATM (General Bytes

BT300470), taken from Bitcoin Embassy; (4) (21-FBI-005180) $30,980.00 U.S. Currency seized

from Campus Convenience Bitcoin ATM; (5) (21-FBI-005447) One physical ‘1 BTC’ Casascius

Bitcoin seized from Ian Freeman’s safe; (6) (21-FBI-005449) One physical ‘100 BTC’

Casascius Bitcoin “gold plated bearer bar” seized from Ian Freeman’s safe; (7) (21-FBI-

005718) .9999783 BCH from physical '1 BTC' Casascius Bitcoin seized from Ian Freeman’s

safe; (8) (21-FBI-005719) .99909638 BTC from physical '1 BTC' Casascius Bitcoin seized from

Ian Freeman’s safe; (9) (21-FBI-005720) 99.99993098 BCH from physical '100 BTC' Casascius



                                                 14
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 15 of 19




Bitcoin seized from Ian Freeman’s safe; (10) (21-FBI-005722) 99.99765508 BTC from physical

'100 BTC' Casascius Bitcoin seized from Ian Freeman’s safe; (11) (21-FBI-005519) Misc. coins

and ingots of precious metal seized from Ian Freeman’s safe: (A) U.S. $0.10 silver dime sealed

in plastic, (B) OPM sealed 1oz gold bars .999 fine; (C) PAMP sealed 1oz gold bar .999 fine; (D)

$1 Liberty dollar warehouse silver receipts 1/20 oz each; (E) $5 Liberty dollar warehouse silver

receipts 1/4 oz each; (F) $10 Liberty dollar warehouse silver receipts 1/2 oz each; (G) $20

Liberty dollar warehouse silver receipts; (H) Silver coins 1/2 oz .999 fine; (I) Silver coins 1 oz

.999 fine; (J) Silver coins 2 oz .999 fine; (K) Silver coins in plastic cases 1 oz .999 fine; (L)

Silver bullet 1 oz .999 fine; (M) Platinum Ron Paul coin 1 oz .999 fine, (N) OPM sealed 1oz

gold bars .999 fine; (O) Australian 1 oz gold coin .999 fine; (P) Australian 2 oz silver coin .999

fine; (Q) Swiss of American 100 oz silver bar .999 fine; and (R) Copper coins; (12) (21-FBI-

005553) $179,672.00 U.S. Currency seized from Ian Freeman’s safe; (13) (21-FBI-005554) 143

silver coins and one 10-oz silver bar seized from Ian Freeman’s residence; (14) (21-FBI-005555)

$2,124.00 U.S. Currency seized from Ian Freeman’s residence; (15) (21-FBI-005574) $610.00

U.S. Currency seized from Red Apple Diner (Bitcoin ATM service fees); (16) (21-FBI-005575)

$6,680.00 U.S. Currency seized from Murphy's Taproom Bitcoin ATM; (17) (21-FBI-005583)

$300.00 U.S. Currency seized from Red Arrow Diner Bitcoin ATM; (18) (21-FBI-005591) Misc.

Goldbacks seized from U.S.P.S.; (19) (21-FBI-005592) Misc. Goldbacks seized from Ian

Freeman’s residence, and (20) (21-FBI-005593) Misc. Goldbacks seized from 142 Chester Rd.

       Pursuant to 18 U.S.C. § 982(a)(2), and upon conviction of the offenses alleged in

Counts Four through Twenty of this Superseding Indictment in violation of 18 U.S.C. §§ 1343,

1344 or 1349, the defendants IAN FREEMAN and ARIA DIMEZZO shall forfeit to the United

States of America any property, real or personal, any property constituting, or derived from,



                                                  15
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 16 of 19




proceeds obtained, directly or indirectly, as a result of such violation(s) including but not limited

to: (1) (21-FBI-004556) 6.124429323 BTC, seized from Ian Freeman; (2) (21-FBI-004557)

315.44728106 DASH, seized from Ian Freeman; (3) (21-FBI-005179) $14,120.00 U.S. Currency

seized from Bitcoin ATM (General Bytes BT300470), taken from Bitcoin Embassy; (4) (21-FBI-

005180) $30,980.00 U.S. Currency seized from Campus Convenience Bitcoin ATM; (5) (21-

FBI-005447) One physical ‘1 BTC’ Casascius Bitcoin seized from Ian Freeman’s safe; (6) (21-

FBI-005449) One physical ‘100 BTC’ Casascius Bitcoin “gold plated bearer bar” seized from

Ian Freeman’s safe; (7) (21-FBI-005718) .9999783 BCH from physical '1 BTC' Casascius

Bitcoin seized from Ian Freeman’s safe; (8) (21-FBI-005719) .99909638 BTC from physical '1

BTC' Casascius Bitcoin seized from Ian Freeman’s safe; (9) (21-FBI-005720) 99.99993098 BCH

from physical '100 BTC' Casascius Bitcoin seized from Ian Freeman’s safe; (10) (21-FBI-

005722) 99.99765508 BTC from physical '100 BTC' Casascius Bitcoin seized from Ian

Freeman’s safe; (11) (21-FBI-005519) Misc. coins and ingots of precious metal seized from Ian

Freeman’s safe: (A) U.S. $0.10 silver dime sealed in plastic, (B) OPM sealed 1oz gold bars .999

fine; (C) PAMP sealed 1oz gold bar .999 fine; (D) $1 Liberty dollar warehouse silver receipts

1/20 oz each; (E) $5 Liberty dollar warehouse silver receipts 1/4 oz each; (F) $10 Liberty dollar

warehouse silver receipts 1/2 oz each; (G) $20 Liberty dollar warehouse silver receipts; (H)

Silver coins 1/2 oz .999 fine; (I) Silver coins 1 oz .999 fine; (J) Silver coins 2 oz .999 fine; (K)

Silver coins in plastic cases 1 oz .999 fine; (L) Silver bullet 1 oz .999 fine; (M) Platinum Ron

Paul coin 1 oz .999 fine, (N) OPM sealed 1oz gold bars .999 fine; (O) Australian 1 oz gold coin

.999 fine; (P) Australian 2 oz silver coin .999 fine; (Q) Swiss of American 100 oz silver bar .999

fine; and (R) Copper coins; (12) (21-FBI-005553) $179,672.00 U.S. Currency seized from Ian

Freeman’s safe; (13) (21-FBI-005554) 143 silver coins and one 10-oz silver bar seized from Ian



                                                  16
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 17 of 19




Freeman’s residence; (14) (21-FBI-005555) $2,124.00 U.S. Currency seized from Ian Freeman’s

residence; (15) (21-FBI-005574) $610.00 U.S. Currency seized from Red Apple Diner (Bitcoin

ATM service fees); (16) (21-FBI-005575) $6,680.00 U.S. Currency seized from Murphy's

Taproom Bitcoin ATM; (17) (21-FBI-005583) $300.00 U.S. Currency seized from Red Arrow

Diner Bitcoin ATM; (18) (21-FBI-005591) Misc. Goldbacks seized from U.S.P.S.; (19) (21-FBI-

005592) Misc. Goldbacks seized from Ian Freeman’s residence, and (20) (21-FBI-005593) Misc.

Goldbacks seized from 142 Chester Rd.

       Pursuant to 18 U.S.C.§ 982(a)(1), and upon conviction of an offense in violation of 18

U.S.C. §§ 1956, 1957 or 1960 charged in Counts One, Two, Three, and Twenty-One through

Twenty-Eight of this Superseding Indictment, the defendant IAN FREEMAN shall forfeit to the

United States, all property, real or personal, involved in the offense, and all property traceable to

such property, including but not limited to: (1) (21-FBI-004556) 6.124429323 BTC, seized from

Ian Freeman; (2) (21-FBI-004557) 315.44728106 DASH, seized from Ian Freeman; (3) (21-FBI-

005179) $14,120.00 U.S. Currency seized from Bitcoin ATM (General Bytes BT300470), taken

from Bitcoin Embassy; (4) (21-FBI-005180) $30,980.00 U.S. Currency seized from Campus

Convenience Bitcoin ATM; (5) (21-FBI-005447) One physical ‘1 BTC’ Casascius Bitcoin seized

from Ian Freeman’s safe; (6) (21-FBI-005449) One physical ‘100 BTC’ Casascius Bitcoin “gold

plated bearer bar” seized from Ian Freeman’s safe; (7) (21-FBI-005718) .9999783 BCH from

physical '1 BTC' Casascius Bitcoin seized from Ian Freeman’s safe; (8) (21-FBI-005719)

.99909638 BTC from physical '1 BTC' Casascius Bitcoin seized from Ian Freeman’s safe; (9)

(21-FBI-005720) 99.99993098 BCH from physical '100 BTC' Casascius Bitcoin seized from Ian

Freeman’s safe; (10) (21-FBI-005722) 99.99765508 BTC from physical '100 BTC' Casascius

Bitcoin seized from Ian Freeman’s safe; (11) (21-FBI-005519) Misc. coins and ingots of



                                                 17
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 18 of 19




precious metal seized from Ian Freeman’s safe: (A) U.S. $0.10 silver dime sealed in plastic, (B)

OPM sealed 1oz gold bars .999 fine; (C) PAMP sealed 1oz gold bar .999 fine; (D) $1 Liberty

dollar warehouse silver receipts 1/20 oz each; (E) $5 Liberty dollar warehouse silver receipts 1/4

oz each; (F) $10 Liberty dollar warehouse silver receipts 1/2 oz each; (G) $20 Liberty dollar

warehouse silver receipts; (H) Silver coins 1/2 oz .999 fine; (I) Silver coins 1 oz .999 fine; (J)

Silver coins 2 oz .999 fine; (K) Silver coins in plastic cases 1 oz .999 fine; (L) Silver bullet 1 oz

.999 fine; (M) Platinum Ron Paul coin 1 oz .999 fine, (N) OPM sealed 1oz gold bars .999 fine;

(O) Australian 1 oz gold coin .999 fine; (P) Australian 2 oz silver coin .999 fine; (Q) Swiss of

American 100 oz silver bar .999 fine; and (R) Copper coins; (12) (21-FBI-005553) $179,672.00

U.S. Currency seized from Ian Freeman’s safe; (13) (21-FBI-005554) 143 silver coins and one

10-oz silver bar seized from Ian Freeman’s residence; (14) (21-FBI-005555) $2,124.00 U.S.

Currency seized from Ian Freeman’s residence; (15) (21-FBI-005574) $610.00 U.S. Currency

seized from Red Apple Diner (Bitcoin ATM service fees); (16) (21-FBI-005575) $6,680.00 U.S.

Currency seized from Murphy's Taproom Bitcoin ATM; (17) (21-FBI-005583) $300.00 U.S.

Currency seized from Red Arrow Diner Bitcoin ATM; (18) (21-FBI-005591) Misc. Goldbacks

seized from U.S.P.S.; (19) (21-FBI-005592) Misc. Goldbacks seized from Ian Freeman’s

residence, and (20) (21-FBI-005593) Misc. Goldbacks seized from 142 Chester Rd.




                                                  18
         Case 1:21-cr-00041-JL Document 139 Filed 04/25/22 Page 19 of 19




       Pursuant to 21 U.S.C. § 853(p), the United States of America shall be entitled to

forfeiture of substitute property if any of the property described above, as a result of any act or

omission of the defendants: (a) cannot be located upon the exercise of due diligence; (b) has been

transferred or sold to, or deposited with, a third party; (c) has been placed beyond the jurisdiction

of the Court; (d) has been substantially diminished in value; or (e) has been commingled with

other property which cannot be divided without difficulty.



Dated: April 25, 2022                                 A TRUE BILL

                                                      /s/ Grand Jury Foreperson
                                                      Grand Jury Foreperson

JOHN J. FARLEY
United States Attorney

/s/ Georgiana L. MacDonald                            /s/ Seth R. Aframe
Georgiana L. MacDonald                                Seth R. Aframe
Assistant U.S. Attorney                               Assistant U.S. Attorney




                                                 19
